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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION

IN RE: ETHICON, INC. PELVIC REPAIR                                  Master File No. 2:12-MD-02327
SYSTEMS PRODUCTS LIABILITY                                                     MDL 2327
LITIGATION
------------------------------------------------------
ETHICON WAVE 6 CASES LISTED IN
EXHIBIT A                                                       JOSEPH R. GOODWIN U.S. DISTRICT
                                                                            JUDGE

                 NOTICE OF ADOPTION OF PRIOR DAUBERT MOTION OF
                       CHRISTINA PRAMUDJI, M.D. FOR WAVE 6

         Comes now, the Plaintiffs, and hereby adopt and incorporate by reference the Daubert

motion filed against Christina Pramudji for Ethicon Wave 1, Dkt. 2035 (motion), 2037

(memorandum in support). Plaintiffs respectfully request that the Court exclude Christina

Pramudji’s testimony, for the reasons expressed in the Wave 1 briefing. This notice applies to

the following Wave 6 cases identified in Exhibit A attached hereto.

Dated: October 20, 2017                                  Respectfully submitted,

                                                         /s/ Bryan F. Aylstock
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                               EXHIBIT A

Ballesteros, Christine     2:12-cv-08919
Koch, Patricia             2:12-cv-08926
Pace, Virginia             2:12-cv-09716
Jacobs, Patricia           2:12-cv-9034
Nunez, Sylvia              2:13-cv-00533
Gibbs, Lori                2:13-cv-00888
Jimenez, Ellen             2:13-CV-01108
Mouton, Dorothy            2:13-CV-01135
Diaz, Hilda                2:13-cv-01360
Embry, Dana                2:13-cv-01376
Gearhart, Renee            2:13-cv-01378
Sheffield, Peggy           2:13-cv-01384
Walker, Wylene             2:13-cv-01742
Grizzle Hagans, Angela     2:13-cv-01954
Parrish, Meredith Ann      2:13-cv-02622
Hanrihan, Gaynel           2:13-cv-02651
Green, Sandra              2:13-cv-0843
Douglas, Peggy             2:13-cv-1753




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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 20, 2017, I electronically filed the foregoing document

with the Clerk of the court using CM/ECF system which will send notification of such filing to

the CM/ECF participants registered to receive service in this MDL.



                                            /s/ Bryan F. Aylstock_______________
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